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                                                                                   FILED
                                                                                 U.S. DISTRICT COURT
                                                                             EASTERN DISTRICT ARKANSAS




UNITED STATES OF AMERICA                        )         4:18-CR-«JZ<J~    1£fVI
                                                )
      v.                                        )         Violation:
                                                )         18 u.s.c. § 922(g)(l)
JERRON VINCENT TAYLOR                           )

                                   INDICTMENT

      THE GRAND WRY CHARGES THAT:

                                     COUNT ONE

      A.      Prior to January 15, 2018, the defendant,

                            JERRON VINCENT TAYLOR,

      had previously been convicted as follows:

      1.      In Faulkner County Circuit Court for Possession of a Controlled Substance,

      Schedule I/II, in criminal case CR-2009-1373;

      2.      In Pulaski County Circuit Court for Aggravated Assault and Possession of

      Firearm by Certain Persons, in criminal case CR-11-3580; and

      3.      In Pulaski County Circuit Court for Possession of a Controlled Substance,

      Methamphetamine/Cocaine, in criminal case CR-15-798.

      B.      The crimes set forth in paragraph A above were punishable by a term of

imprisonment exceeding one year.

      C.      On or about January 15, 2018, in the Eastern District of Arkansas, the

defendant,
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                            JERRON VINCENT TAYLOR,

did knowingly possess the following firearm in and affecting commerce, to wit, one Colt,

model M1991Al, .45-caliber handgun, bearing serial number 2793926, thereby violating

Title 18, United States Code, Section 922(g)(l ).

                         FORFEITURE ALLEGATION ONE

       Upon conviction of the offense alleged in Count One of this Indictment, the

defendant,

                            JERRON VINCENT TAYLOR,

shall forfeit to the United States, pursuant to 18 U.S.C. 924(d)(l) and 28 U.S.C. 2461(c),

all firearms and ammunition involved in the commission of the offense, including but not

limited to the following property:

       1.)    One Colt, model M1991Al, .45-caliber handgun, bearing serial number

              2793926;and

       2.)    Ammunition seized on January 15, 2018.




                          [End of text. Signature page to follow.]
